                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     )
vs.                                                  )       No. 1:15-mj-83-WBC
                                                     )
ROBERT R. DOGGART                                    )

                                MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code § 3142(f), a preliminary examination
and detention hearing were held in the above-styled matter on April 20, 2015. Those present
included:

               (1)     AUSA Perry Piper for the USA.
               (2)     Defendant ROBERT R. DOGGART.
               (3)     Attorneys Bryan Hoss and Janie Varnell as retained counsel for Defendant
                       ROBERT R. DOGGART.

                     Detention Hearing and Preliminary Examination Proof

        AUSA Piper called FBI Agent James Smith as a witness and he testified consistently with
the facts outlined in the affidavit attached to the criminal complaint and related matters. The
complaint and affidavit are incorporated herein by reference [Doc. 1]. The Court called U.S.
Probation Officer Candace Lindsey who testified as to the information and her findings contained
in the Pretrial Services Report and her conversations with Defendant and her recommendation for
detention. Defendant called no witnesses, but did make a proffer of information. Both parties
presented their respective arguments, which were fully considered by the Court.

       The parties were not prepared to submit authority to the Court as to whether a rebuttable
presumption of detention is triggered by the solicitation charge. Therefore, the Court proceeded
with the detention hearing under the premise that there was no rebuttable presumption.

                                             Findings

      Having heard and considered the testimony during the detention hearing and preliminary
examination, the complaint and affidavit, and the Pretrial Services report, the undersigned finds:

       (1)     There is probable cause to believe that a violation of Title 18 U.S.C.
               § 373, that is, solicitation to violate Title 18 U.S.C. § 247 (to
               intentionally defacing, damaging, or destroying any religious real
               property), and a violation Title 18 U.S.C. § 875(c), that is,
               transmitting in interstate or foreign commerce any communication



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           containing any threat to injure the person of another were committed
           in the Eastern District of Tennessee.

     (2)   There is probable cause to believe Defendant committed the aforesaid
           violations in Finding 1.

     (3)   Proof the Defendant committed the aforesaid offenses is strong.

     (4)   A separate Order of Detention Pending Trial will be entered with
           respect to Defendant.

                                      Conclusions

     It is ORDERED:

     (1)   Probable cause exists to hold Defendant to answer the charges against him
           in the District Court.

     (2)   The Government’s motion to detain Defendant without bail is GRANTED
           for the reasons set out in the separate ORDER OF DETENTION
           PENDING TRIAL filed with this order.

     (3)   Pending further hearings in this matter, Defendant shall be held in custody
           by the United States Marshal and produced for future hearings.

     (4)   Defendant next appearance shall be before a Magistrate Judge, United States
           Courthouse, 900 Georgia Avenue, Chattanooga, Tennessee on April 29,
           2015 at 2:00 p.m. [EASTERN].

           ENTER.

                                         s/fâátÇ ^A _xx
                                         SUSAN K. LEE
                                         UNITED STATES MAGISTRATE JUDGE




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